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                        IN THE UNITED STATES DISTRICT COURT
                       FOR THE SOUTHERN DISTRICT OF ILLINOIS

UNITED STATES OF AMERICA,                      )
                                               )
                        Plaintiff,             )
                                               )
        vs.                                    )       CRIMINAL NO. 22-CR-40007-JPG
                                               )
MICHAEL E. PIERCE,                             )
                                               )
                        Defendant.             )

                                     MOTION FOR DETENTION

        NOW COMES the United States of America, by and through its attorneys, Steven D.

Weinhoeft, United States Attorney for the Southern District of Illinois, and Casey E. A.

Bloodworth, Assistant United States Attorney, and pursuant to the provisions of Title 18, United

States Code, Section 3142, moves for the detention of the Defendant pending trial. In support of

this motion, it is stated:

        (X)     The United States asserts that the Defendant is a flight risk and no conditions or
                combination of conditions will assure the appearance of the Defendant for all
                proceedings in this case.

        (X)     The United States asserts that the Defendant is a danger to the community.

        ( )     The United States asserts that the Defendant is, or was at the time the offense was
                committed, on release pending trial for a felony, or on release pending imposition
                of execution of sentence (or appeal therefrom) or on probation or parole for any
                offense, all under Federal, State, or local law, or that the Defendant is not a citizen
                or lawfully admitted for permanent residence, and that the Defendant may flee or
                pose a danger to any other person or the community. Accordingly, the United
                States requests this Court to detain the Defendants for a period of not more than
                ten (10) days to permit notification to the proper court or official. Title 18, United
                States Code, Section 3142(d)(1).

        ( )     The United States asserts that there is probable cause to believe that the
                Defendant is subject to the rebuttable presumption that no condition or
                combination of conditions will reasonably assure the appearance of the Defendant
                or the safety of the community. Title 18, United States Code, Section 3142(e).
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       ( )     The United States asserts that there is a serious risk that the Defendant will
               obstruct or attempt to obstruct justice, or threaten, injure, or intimidate, or attempt
               to threaten, injure, or intimidate, a prospective witness or juror.

       WHEREFORE, the United States of America respectfully requests that this Honorable

Court schedule a detention hearing and enter an Order directing that the Defendant be detained

until trial or for whatever other relief may be proper, pursuant to Title 18, United States Code,

Section 3142(e).

                                                      Respectfully submitted,

                                                      STEVEN D. WEINHOEFT
                                                      United States Attorney


                                                      s/ Casey E. A. Bloodworth
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                                CERTIFICATE OF SERVICE

       I hereby certify that on April 8, 2022, I electronically filed the Government’s

                                MOTION FOR DETENTION

with the Clerk of Court using the CM/ECF system which will send notification of such filing(s)
to the following:

Any registered participant




                                                     Respectfully submitted,

                                                     STEVEN D. WEINHOEFT
                                                     United States Attorney


                                                     s/ Casey E. A. Bloodworth
                                                     Casey E. A. Bloodworth
